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  (1956-2012)
                                                   October 25, 2021

        Via E-Filing

        Honorable Judge Jessica S. Allen
        United States Magistrate Judge
        District of New Jersey - Newark Vicinage
        Martin Luther King Building & U.S. Courthouse
        Chambers
        50 Walnut Street, Room MLK 2B
        Newark, NJ 07101

                          RE:    T-Mobile Northeast LLC v. Town of Harrison, et al.,
                                 Docket No. 21-cv-13627 (ES) (JSA)

        Dear Hon. Judge Allen:

               On behalf of both Plaintiff and Defendants, we pleased to report that the parties have
        reached agreement on the settlement of the above referenced matter, and in furtherance thereof
        have executed a proposed Consent Order. Both the proposed Consent Order and a Rule 73 Order
        will be filed on the docket. We respectfully request that you So Order the proposed Consent
        Order to bring resolution to this matter.

                   Thank you again for your time in reviewing this matter.

                                                        Respectfully submitted,
                                                        SNYDER & S~             LLP

                                                        By:           -
                                                              Robert D. Gaudioso

        RDG/djk
        cc: T-Mobile Northeast LLC
            Gregory J. Castano Jr., Attorney for Defendants via e-filing.
